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                                                                        February 2020



             Change of Watch 2019-2020




                                                     EXHIBIT 33
                                         2020 Installation Banquet
                                                               Details and photos inside
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Your 2020 Flag Officers




   Cathy Talisman       Roger Gilmore         Jenn Buckley                  Lisa Glaser
    Commodore          Vice Commodore       Rear Commodore                   Secretary




   Lezlee Kramer       Marty Southard         James Masson                  Nick Southard
     Treasurer        Assistant Treasurer      Fleet Captain                    Who?




 Mixer's Adventures
                                             " Went to the saloon, knocked back a couple root
                                             beers. Then I went to check out local talent. The
                                             sheriff took exception to my carousing."




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80th Anniversary Committee                                    wider audience. We become a trusted partner to the
                                                              City of Gulfport. We demonstrate our value as a local
Submitted by Jenn Buckley                                     club that gives back to the community it resides in. And
While this is BCYC’s 55th anniversary in Gulfport, it is      we do this carefully, thoughtfully, deliberately, and in
also our 80th anniversary as a boating club based in          a non-threatening way; in a way that allows our voice
South Pinellas County. Eighty years is a major accom-         to be heard, to let our words resonate with clarity and
plishment worth celebrating and it is important to rec-       facts.
ognize what we have achieved as a whole. The purpose          More importantly, we need to be become a more indis-
of this committee is to advertise for and recruit new         pensable part of the boating community in the larger
members, participate more fully in Gulfport activities,       marina complex. Our current reality is that we are no
demonstrate our value to the community at large, and          longer “just” a sailing club. With the installation of the
to celebrate this important milestone.                        boat lifts, we’re already seeing more power boats and
This is about much more than just recruiting and              non-members around. There’s nothing wrong with that
celebrating. We have an image problem in this commu-          but we need to both acknowledge this reality and work
nity. Any member who thinks that BCYC will look the           with it rather than against it. We need to think outside
same in five years as it looked five years ago, is deluding   our physical borders because they’ve shrunk. Instead
themselves. We have to change how we are perceived            of thinking smaller, we need to be thinking bigger and
here in Gulfport, and we need to work hard on chang-          embrace a return to our roots as a boating club. We’ve
ing perceptions. Too few in the community know our            already started by adding Paddle Sports and Fish &
story, what we have done in the community, what we            Grab as standing committees that have strong follow-
continue to do in the community, and the value that we        ings (even if the catches are small).
bring to Gulfport. Too many see us as classist, rich, and     Over the next few weeks and months, you’ll see some
snobbish, labeling our club as a standard, stereotypical      new advertising, recruiting efforts, and participation in
“yacht club” full of elitist, entitled individuals who have   community events, and learn more about the rich his-
taken over a portion of their local community.                tory of BCYC. This is going to be a year-long, “all in” kind
The question then becomes, how do we change these             of effort and we’re going to need everyone’s help. As far
negative perceptions? We tell our story and we include        as I'm concerned, every member of BCYC is a member
facts to dispel some long-standing myths about our            of this committee and I've already collected quite a few
lease deal with the city. We share our detailed history in    great ideas from those who shared their thoughts so if
a way that dissipates the misinformation that has been        you have ideas or suggestions, please feel free to share.
spread far and wide in the last few years. We participate     If you’re interested in helping out at any community
more fully in the local Gulfport community to reach a         events, please let me know. More details to come!



Rear Commodore Report                                         areas are almost ready for new plants, and everything
Submitted by Jenn Buckley, 2020 Rear Commodore                was watered to the happy satisfaction of the plants.
Our first work day of the new decade saw us taking            Thanks goes out to: Caryn McDermott, Harold Small,
down the Christmas decorations, scrubbing the                 Lori Russo, Roger Gilmore, Gyb Spilsbury, Kathy
clubhouse from top to bottom, cleaning and                    Maechtle, Juli Jacoby, Bill Parker, John Bentley, Kathy
reorganizing the storage closet (aka the storeroom),          Longacre, Gary Rhoads, Ellen White, Bob White, Dianne
scrubbing the bathrooms and kitchen, cleaning out             Benedetti, John Russo, Mixer O'Keefe, Mike Cook,
the fridges (sort of ), putting down ant killer wherever      Alder Allensworth, Terri Mitchell, Sheri Ogorek, Susan
needed, pulling weeds, sweeping the patio, trimming           McQuillan, Bob Trehy, Paul Lachance, Gary Herr, Trish
the mangroves (carefully), trimming a few trees, and          Small, Lisa Glaser, and Paul Stiffler.
TONS of landscaping!                                          If I missed your name, please remember to sign in!
The new retaining wall is complete, the landscaped            Thank you!




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